  Case 1:18-cr-00457-AJT Document 279 Filed 07/09/19 Page 1 of 2 PageID# 3144



                        UNITED STATES DISTRICT COURT FOR THE
                            EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division


UNITED STATES OF AMERICA

               V.




BIJAN RAFIEKIAN, et ai.                             Case Number 1:18-cr-457-AJT


               Defendants.



                                            ORDER


       On July 3, 2019,the United States filed an under seal Notice of Correction to the Record

[Doc, No. 261](the "Notice of Correction") stating that the government will not be calling

Michael T. Flynn as a witness in its case-in-chief. That same day, upon consideration of the

Government's Ex Parte Motion for Temporary Nondisclosure Order [Doc. No. 260](the "£x:

Parte Motion"), the Court issued an under seal Nondisclosure Order [Doc. No. 246](the

"Order") prohibiting the parties from disclosing the existence of the Order or the Notice of

Correction until otherwise ordered by the Court. On July 8, 2019, Non-Party Michael T. Flynn

filed a Motion to File Under Seal [Doc. No. 265], together with an under seal Memorandum

Opposing Coconspirator Designation of Non-Party Witness Michael T. Flynn [Doc. No. 270].

That same day, the Court held a hearing on whether the Order, the Notice of Correction, and the

related filings should remain under seal. Upon consideration of the Notice of Correction, the

submissions of the parties and Non-Party Michael T. Flynn in response thereto, and the

arguments ofcounsel at the July 8 hearing, and for the reasons stated on the record at that

hearing, it is hereby

       ORDERED that the Notice of Correction to the Record [Doc. No. 261], Nondisclosure

Order [Doc. No. 246], and all related orders and filings and exhibits thereto [Doc. Nos. 249, 256,


                                                1
Case 1:18-cr-00457-AJT Document 279 Filed 07/09/19 Page 2 of 2 PageID# 3145
